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18                               UNITED STATES DISTRICT COURT
19                          NORTHERN DISTRICT OF CALIFORNIA
20

21   IN RE: MCKINSEY & CO., INC.              Case No. 21-md-02996-CRB (SK)
     NATIONAL PRESCRIPTION OPIATE
22   CONSULTANT LITIGATION                    STIPULATION AND [PROPOSED]
                                              ORDER REGARDING DISCOVERY
23   This Document Relates to:                SCHEDULE

24   ALL ACTIONS                              Judge: Hon. Charles R. Breyer

25                                            Courtroom: 6, 17th Floor

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28
                                                      STIPULATION AND [PROPOSED] ORDER
                                                        REGARDING DISCOVERY SCHEDULE
                                                          CASE NO. 3: 21-MD-02996-CRB (SK)
      Case 3:21-md-02996-CRB Document 464 Filed 01/16/23 Page 2 of 3



 1                                             STIPULATION

 2          WHEREAS, pursuant to the October 27, 2022 Joint Case Management Statement and

 3   Discovery Schedule (“Discovery Schedule”), this Court directed the parties to meet and confer

 4   about (1) appropriate limits on interrogatories, (2) a proposed Plaintiff Fact Sheet and Plaintiff

 5   Fact Sheet Implementation Order, and (3) Defendants’ access to discovery from MDL 2804; and

 6   to submit any disputes concerning these matters to Magistrate Judge Kim by December 20, 2022

 7   (Dkt. 440);

 8          WHEREAS, pursuant to stipulations by the parties, the Court extended the deadline to

 9   meet and confer and submit any disputes concerning these matter from December 20, 2022 to

10   January 18, 2023 (Dkts. 452 & 454);

11          WHEREAS, the parties continue to discuss these matters and respectfully seek additional

12   time to resolve or narrow any disputes before submitting them to Judge Kim;

13          NOW, THEREFORE, the parties hereby agree, stipulate and respectfully request that the

14   Discovery Schedule be amended to provide that the parties shall submit any disputes concerning

15   (1) appropriate limits on interrogatories, (2) a proposed Plaintiff Fact Sheet and Plaintiff Fact

16   Sheet Implementation Order, and/or (3) Defendants’ access to discovery from MDL 2804, to

17   Magistrate Judge Kim on or before February 3, 2023.

18          The parties further hereby agree and stipulate that all other terms and provisions in the

19   Discovery Schedule that are not expressly modified herein shall remain as provided therein.

20          IT IS SO STIPULATED.

21
     Dated: January 16, 2023                         By: /s/
22
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                                                     Plaintiffs’ Lead Counsel and on behalf of the
28                                                   Plaintiffs’ Steering Committee

                                                                  STIPULATION AND [PROPOSED] ORDER
                                                     -1-            REGARDING DISCOVERY SCHEDULE
                                                                       CASE NO. 3: 21-MD-02996-CRB (SK)
     Case 3:21-md-02996-CRB Document 464 Filed 01/16/23 Page 3 of 3



 1
                                            By: /s/
 2

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10                                  [PROPOSED] ORDER
11       Pursuant to stipulation, and for good cause shown, IT IS SO ORDERED.
12

13 DATED:_________________                             _________________________
                                                       CHARLES R. BREYER
14                                                     United States District Judge
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                                                         STIPULATION AND [PROPOSED] ORDER
                                             -2-           REGARDING DISCOVERY SCHEDULE
                                                              CASE NO. 3: 21-MD-02996-CRB (SK)
